           Case 5:20-cv-02332-JWH-KK Document 41-5 Filed 04/09/21 Page 1 of 6 Page ID #:470
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           Case 5:20-cv-02332-JWH-KK Document 41-5 Filed 04/09/21 Page 3 of 6 Page ID #:472
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           Case 5:20-cv-02332-JWH-KK Document 41-5 Filed 04/09/21 Page 4 of 6 Page ID #:473
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           Case 5:20-cv-02332-JWH-KK Document 41-5 Filed 04/09/21 Page 5 of 6 Page ID #:474
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           Case 5:20-cv-02332-JWH-KK Document 41-5 Filed 04/09/21 Page 6 of 6 Page ID #:475
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